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12
                                 UNITED STATES DISTRICT COURT
13
                                NORTHERN DISTRICT OF CALIFORNIA
14
                                     SAN FRANCISCO DIVISION
15
     UNITED STATES OF AMERICA,                  CASE NO.: 20-cr-0249-RS
16
                   Plaintiff,
17                                              ORDER GRANTING MOTION TO
           vs.                                  WITHDRAW AS COUNSEL FOR
18                                              DEFENDANT ROWLAND
     ROWLAND MARCUS ANDRADE,                    MARCUS ANDRADE
19
                   Defendants.                  Date: July 20, 2021
20                                              Time: 2:30 p.m. PDT
                                                Judge: The Hon. Richard Seeborg
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     NOTICE OF MOTION AND MOTION TO WITHDRAW CASE NO. 20-CR-0249-RS
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15          Attorneys for Defendant Rowland Marcus Andrade Katherine D. Cooper, Lionel André,
16   and Mauricio S. Beugelmans (“Movants”) seek to withdraw as counsel for defendant Rowland
17   Marcus Andrade in the above-captioned matter pursuant to Northern District of California’s
18   Criminal Local Rule 44-2(b). As this Court finds that Katherine D. Cooper, Lionel André and
19   Mauricio S. Beugelmans have submitted sufficient grounds for withdrawal, and that the granting
20   of their Motion will not cause substantial prejudice or delay to Rowland Marcus Andrade, IT IS
21   HEREBY ORDERED that the Motion filed by Movants Katherine D. Cooper, Lionel André and
22   Mauricio S. Beugelmans to withdraw as counsel for defendant Rowland Marcus Andrade is
23   GRANTED, and Katherine D. Cooper, Lionel André, and Mauricio S. Beugelmans are hereby
24   terminated as counsel in this proceeding.
25           7/20/2021
     DATED: __________________             By: ____________________________
                                                Hon. Richard Seeborg
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     NOTICE OF MOTION AND MOTION TO WITHDRAW CASE NO. 20-CR-0249-RS
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